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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re                                                   Case No. 20-23280 (RDD)
        85 FLATBUSH RHO MEZZ LLC, et al.,1                  Chapter 11

                           Debtors

                                                            (Jointly Administered)

    SECOND AMENDED CHAPTER 11 PLAN FILED BY CREDITOR TH HOLDCO LLC
    RELATED TO 85 FLATBUSH RHO MEZZ, LLC, 85 FLATBUSH RHO HOTEL LLC,
                   AND 85 FLATBUSH RHO RESIDENTIAL LLC

        TH Holdco LLC as creditor files this second amended Chapter 11 plan related to the
Debtors 85 Flatbush RHO Mezz, LLC, 85 Flatbush RHO Hotel LLC, and 85 Flatbush RHO
Residential LLC pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms used
herein shall have the meanings set forth in Section 1.A.



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  The Debtors (as defined) in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, include: 85 Flatbush RHO Mezz LLC (6184); 85 Flatbush RHO Hotel LLC (5027); and 85
Flatbush RHO Residential LLC (2261).

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        The Plan constitutes a separate chapter 11 plan for each Debtor. The classifications set
forth in Classes shall be deemed to apply to each Debtor identified, except that Class 3 shall apply
to each of the Debtors. TH Holdco reserves the right to proceed to seek confirmation with respect
to the Plan as to each Debtor separately and to proceed to confirm the Plan with respect to some
but not all of the Debtors.

SECTION 1. DEFINITIONS AND INTERPRETATION.

        A.       Definitions.

        1.1      85 Flatbush Avenue means 85 Flatbush Avenue 1 LLC.

      1.2     85 Flatbush Mezz means 85 Flatbush Mezz LLC in its capacity as the prepetition
mezzanine lender to 85 Flatbush RHO Mezz.

        1.3     85 Flatbush Hotel Pledge Agreement means the Ownership Interest Pledge and
Security Agreement dated September 19, 2019 which pledged and granted 85 Flatbush Mezz a
security interest in 85 Flatbush RHO Mezz’s membership interest in 85 Flatbush RHO Hotel as
security for the 85 Flatbush Mezz Loan Agreement.

       1.4     85 Flatbush Residential Pledge Agreement means the Ownership Interest Pledge
and Security Agreement dated September 19, 2019 which pledged and granted 85 Flatbush Mezz
a security interest in 85 Flatbush RHO Mezz’s membership interest in 85 Flatbush RHO
Residential as security for the 85 Flatbush Mezz Loan Agreement.

       1.5    85 Flatbush Mezz Loan Agreement means that certain Mezzanine Promissory
Note dated September 19, 2019 and Mezzanine Loan Agreement pursuant to which 85 Flatbush
Mezz advanced a loan to 85 Flatbush RHO Mezz in the original principal amount of $6,000,000
secured by the 85 Flatbush Hotel Pledge Agreement and 85 Flatbush Residential Pledge
Agreement.

       1.6    85 Flatbush RHO Mezz means 85 Flatbush RHO Mezz LLC, a Debtor in these
Chapter 11 Cases.

       1.7    85 Flatbush RHO Hotel means 85 Flatbush RHO Hotel LLC, a Debtor in these
Chapter 11 Cases.

        1.8    85 Flatbush RHO Residential means 85 Flatbush RHO Residential LLC, a Debtor
in these Chapter 11 Cases.

         1.9    Administrative Expense Claim means any Claim for costs and expenses of
Administration during the Chapter 11 Cases pursuant to sections 328, 330, 363, 364(c)(1), 365,
503(b) or 507(a)(2) of the Bankruptcy Code, including, (a) the actual and necessary costs and
expenses incurred after the Commencement Date and through the Effective Date of preserving the
Estates and operating the business of the Debtors (such as wages, salaries or commissions for
services and payments for goods and other services and leased premises); (b) Fee Claims; and
(c) all fees and charges assessed against the Estates pursuant to section 1911 through 1930 of
chapter 123 of title 28 of the United States Code, 28 U.S.C. section 1-1401.

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       1.10 Administrative Expense Claims Bar Date means the first Business Day that is 30
days following the Confirmation Date, except as otherwise specifically set forth in the Plan.

         1.11 Administrative Expense Claims Objection Bar Date means the first Business Day
that is 60 days following the Effective Date, except as otherwise specifically set forth in the Plan;
provided that the Administrative Claims Objection Bar Date may be extended pursuant to an order
of the Bankruptcy Court upon a motion filed by the Post-Effective Date Debtors after notice and
a hearing.

        1.12 Allowed means with reference to any Claim (a) any Claim against any Debtor that
has been listed by the Debtor in its Schedules as of the date of the filing of this Plan as liquidated
in amount and not disputed or contingent and for which no contrary proof of Claim has been filed,
(b) any Claim listed on the Schedules or included in a timely filed proof of Claim, as to which no
objection to allowance has been, or subsequently is, interposed in accordance with Section 7.9
hereof or prior to the expiration of such other applicable period of limitation fixed by the
Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or as to which any objection
has been determined by a Final Order to the extent such Final Order is in favor of the respective
holder, or (c) any Claim expressly allowed by a Final Order. Any filed Proof of Claim in the 85
RHO Flatbush Hotel Case or in the 85 RHO Flatbush Residential Case which is not the subject of
a pending objection as of the Confirmation Date shall be deemed Allowed unless such date is
extended by the Bankruptcy Court for good cause shown.

        1.13 Auction means the auction for the sale of the Hotel Property and/or Residential
Property to be held in accordance with the Sale and Bid Procedures on or about a date that is 30
days after the entry of the Confirmation Order.

        1.14 Available Cash means all Cash of the Debtor realized from its business operations,
the sale or other disposition (other than the Sale Transaction) of its assets, the interest earned on
its invested funds or from any other source or otherwise.

       1.15 Avoidance Action means any action commenced, or that may be commenced,
before or after the Effective Date pursuant to section 544, 545, 547, 548, 549, 550, or 551 of the
Bankruptcy Code.

        1.16 Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101, et
seq., as amended from time to time, as applicable to the Chapter 11 Case.

        1.17 Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of New York having jurisdiction over the Chapter 11 Case and, to the extent of any
reference made under section 157 of title 28 of the United States Code, the unit of such District
Court having jurisdiction over the Chapter 11 Case under section 151 of title 28 of the United
States Code.

       1.18 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States
Code, as amended from time to time, applicable to the Chapter 11 Case, and any Local Rules of
the Bankruptcy Court.


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        1.19 Bar Date Order means that certain Order Establishing Deadline for Filing Proofs
of Claim Against the Debtors and Approving the Form and Manner of Notice Thereof entered on
March 15, 2021 at ECF No. 58 which established April 21, 2021 as the last day for creditors to
file claims against the Debtors’ Estates and established June 16, 2021 as the last date for
Governmental Units to file claims against the applicable Debtor’s estate.

       1.20 Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are required or authorized to close by law or
executive order.

        1.21     Cash means legal tender of the United States of America.

         1.22 Causes of Action means any action, Claim, cause of action, controversy, demand,
right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
offset, power, privilege, license and franchise of any kind or character whatsoever, known,
unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
derivatively, whether arising before, on, or after the Commencement Date, in contract or in tort,
in law or in equity or pursuant to any other theory of law. Cause of Action also includes: (a) any
right of setoff, counterclaim or recoupment and any claim for breach of contract or for breach of
duties imposed by law or in equity; (b) the right to object to Claims or Interests; (c) any Avoidance
Action; (d) any claim or defense including fraud, mistake, duress and usury and any other defenses
set forth in section 558 of the Bankruptcy Code; and (e) any state law fraudulent transfer claim.

      1.23 Chapter 11 Cases means the jointly-administered cases under chapter 11 of the
Bankruptcy Code commenced by the Debtors on December 18, 2020 and styled In re 85 Flatbush
RHO Mezz LLC, et al., Case No. 20-23280 (RDD).

        1.24     Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.

        1.25 Claims Objection Bar Date means the first Business Day that is 60 days after the
Effective Date; provided that the Claims Objection Bar Date may be extended pursuant to an order
of the Bankruptcy Court upon a motion filed by the Post-Effective Date Debtors.

        1.26     Class means any group of Claims or Interests classified pursuant to Section 3.1 of
the Plan.

        1.27     Closing Date means the date of the closing of the Sale Transaction.

        1.28     Commencement Date means December 18, 2020.

      1.29 Confirmation means the entry on the docket of the Chapter 11 Cases of the
Confirmation Order.

        1.30 Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.



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       1.31 Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding Confirmation of the Plan, as such hearing may be adjourned or continued from time to
time.

        1.32 Confirmation Order means an order of the Bankruptcy Court (a) confirming the
Plan; (b) approving the Sale Transaction; (c) determining that Purchaser is a good faith purchaser;
(d) providing that the closing of the Sale Transaction will occur in accordance with the terms and
conditions of the Purchase Agreement; and (e) providing that the delivery of the deed in
accordance with the terms of the Confirmation Order and Purchase Agreement approved under
this Plan, if confirmed by the Court, shall constitute the making or delivery of an instrument of
transfer under a plan confirmed under section 1129 of this title and may not be taxed under any
law imposing a Transfer Tax.

        1.33     Consummation means the occurrence of the Effective Date of the Plan.

       1.34 Cure Obligation means all (a) amounts (or such other amount as may be agreed
upon by the parties under an Executory Contract or Unexpired Lease) required to cure any
monetary defaults; and (b) other obligations required to cure any non-monetary defaults under any
Executory Contract or Unexpired Lease that is to be assumed by the Debtors and assigned to
Purchaser pursuant to sections 365 or 1123 of the Bankruptcy Code.

       1.35 Debtor means any of the Debtors in its respective individual capacity as a debtor
and debtor in possession in the Chapter 11 Cases.

     1.36 Debtors mean 85 Flatbush RHO Mezz, 85 Flatbush RHO Hotel, and 85 Flatbush
RHO Residential.

        1.37 Disbursing Agent means the entity or person designated by the Plan Supplement
or the Confirmation Order and charged with the responsibility of making the payments under the
Plan.

       1.38 Disclosure Statement means the second amended Disclosure Statement for the Plan
which is prepared and distributed in accordance with sections 1125, 1126(b) and/or 1145 of the
Bankruptcy Code, Bankruptcy Rule 3018 and/or other applicable law.

        1.39 Disputed Claim means with respect to a Claim or Interest, any such Claim or
Interest (a) to the extent neither Allowed nor disallowed under the Plan or a Final Order nor
deemed Allowed under section 502, 503 or 1111 of the Bankruptcy Code, or (b) for which a Proof
of Claim or Interest has been filed, to the extent the Debtor or any party in interest has interposed
a timely objection or request for estimation before the Confirmation Date in accordance with the
Plan, which objection or request for estimation has not been withdrawn or determined by a Final
Order.

       1.40 Distribution Date means a date or dates, as determined by the Disbursing Agent in
accordance with the terms of the Plan, on which the Disbursing Agent makes a distribution to
holders of Allowed Claims.

        1.41     Distribution Record Date means the Effective Date of the Plan.

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        1.42 Effective Date means the date on which all conditions to the effectiveness of the
Plan set forth in Section 10 hereof have been satisfied or waived in accordance with the terms of
the Plan.

        1.43     Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.

       1.44 Estate means as to each Debtor, the estate created for the Debtor in its Chapter 11
Case pursuant to section 541 of the Bankruptcy Code upon the commencement of each respective
Debtor’s Chapter 11 Case.

       1.45 Estimated Professional Fee Escrow means the escrow account established by the
Debtors or TH Holdco ten (10) days prior to the Effective Date holding sufficient Cash to pay the
Fee Claims in full, less any applicable retainers held by such professionals, subject to their
Allowance by the Bankruptcy Court upon the later of (i) the Effective Date or (ii) the date upon
which the order relating to any such Allowed Fee Claim is entered or (iii) upon such other terms
and conditions as may be agreed to between the holder of such an Allowed Fee Claim, and TH
Holdco. The Estimated Professional Fee Escrow shall be funded first from the Debtors’ cash on
hand as of the Effective Date of the Plan and thereafter from the Plan Fund.

        1.46 Exculpated Parties means collectively: (a) the Debtors; (b) TH Holdco; (c) the
Purchaser; and (d) with respect to each of the foregoing entities in clauses (a) through (c), such
entities’ successors and assigns, subsidiaries, affiliates, current and former officers, directors,
principals, shareholders, members, partners, employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants, representatives,
management companies, and other professionals, and such persons’ respective heirs, executors,
Estates, servants and nominees, in each case in their capacity as such. Nothing herein shall be
deemed to release or impact claims held by TH Holdco or any other party against non-Debtor
guarantors or obligors of any nature.

        1.47 Executory Contract means a contract or lease to which a Debtor is a party that is
subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        1.48 Existing Equity Interests means all Interests in a Debtor, including membership
interests or the rights to acquire any such Interests.

        1.49 Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Commencement Date through the Effective Date by professional persons retained by
the Debtors pursuant to sections 327, 328, 329, 330, 331, 503(b) or 1103 of the Bankruptcy Code
in the Chapter 11 Cases.

         1.50 Final Order means an order or judgment of a court of competent jurisdiction that
has been entered on the docket maintained by the clerk of such court, which has not been reversed,
vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move for a new
trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceedings for a new trial, reargument or rehearing shall then be pending, or (b) if an appeal, writ
of certiorari, new trial, reargument or rehearing thereof has been sought, such order or judgment
shall have been affirmed by the highest court to which such order was appealed, or certiorari shall


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have been denied, or a new trial, reargument or rehearing shall have been denied or resulted in no
modification of such order, and the time to take any further appeal, petition for certiorari or move
for a new trial, reargument or rehearing shall have expired; provided, however, that no order or
judgment shall fail to be a “Final Order” solely because of the possibility that a motion pursuant
to section 502(j) or section 1144 of the Bankruptcy Code or under Rule 60 of the Federal Rules of
Civil Procedure or Bankruptcy Rule 9024 has been or may be filed with respect to such order or
judgment.

        1.51 General Unsecured Claim means any unsecured Claim that is not entitled to
priority under the Bankruptcy Code or any order of the Bankruptcy Court.

        1.52     Governmental Unit has the meaning set forth in section 101(27) of the Bankruptcy
Code.

        1.53     Hotel means 85 Flatbush RHO Hotel LLC.

       1.54 Hotel Property means the real property and improvements thereon located at 85
Flatbush Extension, Brooklyn, New York (Block 120; Lots 1201, 1202).

       1.55 Impaired means, with respect to a Claim, Interest or Class of Claims or Interests,
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

       1.56 Intercreditor Agreement means that certain Intercreditor Agreement dated as of
September 19, 2019 and as amended as of July 23, 2020 by and between 85 Flatbush Avenue (as
now assigned to TH Holdco) as senior lender and 85 Flatbush Mezz as mezzanine lender.

       1.57 Interests means any equity security in a Debtor as defined in section 101(16) of the
Bankruptcy Code, including all instruments evidencing an ownership interest in the Debtor,
whether or not transferable, and any option, warrant or right, contractual or otherwise, to acquire
any such interests in the Debtor that existed immediately before the Effective Date.

        1.58     Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

        1.59     Mezz means 85 Flatbush RHO Mezz LLC.

       1.60 Other Priority Claim means any Claim against the Debtor entitled to priority in
payment as specified in section 507(a)(3), (4), (5), (6), (7) or (9) of the Bankruptcy Code, other
than an Administrative Expense Claim or a Priority Tax Claim.

       1.61 Other Secured Claim means a Secured Claim, other than the 85 Flatbush Avenue
Secured Claim or 85 Flatbush Mezz Secured Claim.

       1.62 Person means an individual, corporation, partnership, joint venture, association,
Joint Stock Company, Limited Liability Company, limited liability partnership, trust, estate,
unincorporated organization, Governmental Unit or other entity.




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       1.63 Plan means this second amended chapter 11 plan, including the exhibits hereto and
the Plan Supplement, as the same may be amended or modified from time to time in accordance
with Sections herein.

       1.64 Plan Fund means the aggregate of: (1) the Sale Proceeds (if any), which shall be
allocable to the Hotel Property and/or the Residential Property as set forth in the Purchase
Agreement; (2) the TH Holdco Additional Consideration; and (3) the Debtors’ Available Cash
which shall be utilized to make payments to creditors in accordance with the terms of this Plan. In
addition to the Plan Fund, if the TH Holdco Credit Bid closes, TH Holdco shall fund the TH Holdco
Unsecured Claim Dedicated Fund and the TH Holdco Unsecured Claim Additional Funding.

         1.65 Plan Supplement means the compilation of documents and information, if any,
required to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; provided
that, through the Effective Date, TH Holdco shall have the right to amend any schedules, exhibits,
and the other documents contained in, and exhibits to, the Plan Supplement.

        1.66 Plan Supplement Filing Deadline means the date that is no later than 15 days prior
to the Confirmation Hearing.

        1.67 Priority Tax Claim means any unsecured Claim of a Governmental Unit of the kind
entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy
Code.

        1.68 Pro Rata means the proportion that an Allowed Claim in a particular Class bears
to the aggregate amount of Allowed Claims and Disputed Claims within such Class.

        1.69     Proof of Claim means a Proof of Claim filed against a Debtor in its Chapter 11
Case.

        1.70     Properties means the Hotel Property and/or the Residential Property.

       1.71 Purchase Agreement means an Asset Purchase Agreement, in form and
substance reasonably acceptable to TH Holdco, a form of which is attached as Exhibit F to
the Disclosure Statement, which provides for the sale of the Hotel Property and/or Residential
Property, submitted at or prior to the Auction, pursuant and subject to the Sale and Bid
Procedures, and determined by TH Holdco (subject to approval by the Bankruptcy Court after
notice and a hearing) pursuant to the Sale and Bid Procedures to reflect the highest or
otherwise best offer for the Hotel Property and/or Residential Property. The form of the
Purchase Agreement is subject to approval of the Bankruptcy Court. Potential Purchasers
may submit a redline showing any changes they are requesting to the form of Purchase
Agreement prior to the Auction.

       1.72 Purchaser means TH Holdco. The purchase price for the Hotel Property and/or
Residential Property will be set forth in the executed Purchase Agreement filed promptly after the
Confirmation Hearing. The opening bid for the Auction shall be the TH Holdco Credit Bid with
the TH Holdco Additional Consideration and TH Holdco Unsecured Claim Dedicated Fund. In



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the event that another bidder submits a higher and better bid at the Auction which is approved by
the Bankruptcy Court, then the term Purchaser shall refer to such higher and better bidder.

        1.73     Residential means 85 Flatbush RHO Residential LLC.

       1.74 Residential Property means the real property and improvements thereon located at
85 Flatbush Extension, Brooklyn, New York (Block 120; Lot 1203).

       1.75 Sale and Bid Procedures means the sale, bid and auction procedures as approved
by the Bankruptcy Court establishing, among other things, procedures for the Auction and the
terms and conditions related to the Sale Transaction under this Plan. A proposed form of Sale and
Bid Procedures is attached as Exhibit E to the Disclosure Statement. The form of Sale and Bid
Procedures is subject to approval of the Bankruptcy Court.

         1.76 Sale Proceeds means any cash proceeds from the Sale Transaction net of closing
costs directly related to the Sale Transaction including but not limited to Debtors’ brokerage fees,
title costs and other ordinary and necessary costs of, or credits related to, the transfer of title of the
Hotel Property and/or Residential Property, in the event that a Sale Transaction involving a Cash
bid is approved by the Bankruptcy Court and closes.

       1.77 Sale Transaction means the sale of the Hotel Property and/or Residential Property
pursuant to the Plan either via (i) a credit bid to TH Holdco or its nominee and/or (ii) to the winning
Cash Purchaser or Purchasers at the Auction whose bids are approved by the Bankruptcy Court
and who close such Purchaser’s bid.

       1.78 Schedule of Cure Costs means the schedule of any Executory Contracts and
Unexpired Leases to be assumed by the Debtors and assigned to the Purchaser, to be filed with the
Plan Supplement and/or the fully executed Purchase Agreement.

        1.79 Schedules means the schedules of assets and liabilities and the statement of
financial affairs filed by the Debtors under section 521 of the Bankruptcy Code, Bankruptcy Rule
1007, and the Official Bankruptcy Forms of the Bankruptcy Rules, as such schedules and
statements have been or may be supplemented or amended from time to time.

         1.80 Secured Claim means a Claim, other than a Claim held by TH Holdco, to the extent
(i) secured by property of the Estate, the amount of which is equal to or less than the value of such
property (A) as set forth in the Plan, (B) as agreed to by the holder of such Claim and TH Holdco
or (C) as determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code;
or (ii) secured by the amount of any rights of setoff of the holder thereof under section 553 of the
Bankruptcy Code.

       1.81 TH Holdco means TH Holdco LLC as assignee of 85 Flatbush Avenue in its
capacity as the prepetition lender to 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential. If
TH Holdco credit bids to acquire the Hotel Property and Residential Property under section 363(k)
of the Bankruptcy Code, then, in that context, the term “TH Holdco” includes any nominee,
designee or assignee of TH Holdco to whom TH Holdco has assigned or transferred its claim, in
whole or in part, for purpose of making such credit bid.


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        1.82 TH Holdco Additional Consideration shall mean Cash to be funded by TH Holdco
to pay Allowed Cure Obligations, Allowed Administrative Expenses (including Professional Fees
and United States Trustee Fees) and Allowed Priority Claims which shall be part of and paid from
the Plan Fund.

         1.83 TH Holdco Credit Bid means a credit bid for all of the assets subject to the lien
held by TH Holdco in the aggregate amount of at least $90,000,000 plus the TH Holdco Additional
Consideration, to be allocated among such encumbered assets as announced by TH Holdco at or
prior to the hearing on the Disclosure Statement or such higher and better bid as TH Holdco may
thereafter submit. TH Holdco intends to submit a single credit bid for both of the Hotel Property
and the Residential Property. If a cash bid is approved pursuant to the Sale and Bidding Procedures
for just the Hotel Property or just the Residential Property as a separate lot, then TH Holdco shall
indicate the amount of the TH Holdco Credit Bid for the applicable Property it is acquiring through
the Credit Bid. TH Holdco reserves the right to increase the amount of its credit bid at the Auction
or at any time prior to the Effective Date. The TH Holdco Credit Bid may include an assumption
in whole or in part of the TH Holdco Mortgage and any such assumption shall be treated as a dollar
for dollar credit against the TH Holdco Credit Bid amount.

        1.84 TH Holdco Initial Credit Bid means the initial TH Holdco Credit Bid for all of the
assets subject to the lien held by TH Holdco in the aggregate amount of $90,000,000 plus the TH
Holdco Additional Consideration of approximately $4 million, to be allocated among such
encumbered assets as announced by TH Holdco at or prior to the Auction or such higher and better
bid as TH Holdco may thereafter submit.

        1.85 TH Holdco Guaranty means the guaranty, substantially in the form of Exhibit G
to the Disclosure Statement, to be executed by OREI Long Term Equity Fund LP, a Delaware
limited partnership, OREI Long Term Equity Fund A LP, a Delaware limited partnership, and TH
Co-Invest LP, a Delaware limited partnership, each of which indirectly owns TH Holdco.

       1.86 TH Holdco Mortgage means the first priority mortgage on the Hotel Property and
Residential Property granted to 85 Flatbush Avenue and currently held by TH Holdco by 85
Flatbush RHO Hotel and 85 Flatbush RHO Residential to secure the TH Holdco Prepetition Loan.

        1.87 TH Holdco Prepetition Loan Agreement means that certain Consolidated,
Amended and Restated Note dated September 19, 2019 pursuant to which 85 Flatbush Avenue
advanced a loan to 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential in the original
principal amount of $70,000,000 secured by the Hotel Property and Residential Property which is
currently held by TH Holdco.

        1.88 TH Holdco Unsecured Claim Additional Funding means payments to Allowed
General Unsecured Claims in Classes 6 and 8 (i) in quarterly distributions of 50% of the excess
cash flow from operations of the Hotel Property and the Residential Property until such Allowed
General Unsecured Claims in Classes 6 and 8 are paid in full in Cash, together with interest at the
federal judgment rate on such Claims (which interest shall begin accruing on the Effective Date
and shall stop accruing at the time of payment in full), and/or (ii) a final distribution on the first
12-month anniversary of the Effective Date of all remaining unpaid amounts owed, if any, on such
Allowed General Unsecured Claims in Classes 6 and 8, together with interest at the federal


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judgment rate on such Claims (which interest shall begin accruing on the Effective Date and shall
stop accruing at the time of payment in full), so that all such Claims are paid in full in Cash, to be
funded by TH Holdco or by funding from the owners of TH Holdco. TH Holdco will furnish, no
later than the Effective Date of the Plan, the fully executed TH Holdco Guaranty, the form of
which is attached as Exhibit G to the Disclosure Statement.

        1.89 TH Holdco Unsecured Claim Dedicated Fund means a segregated and dedicated
fund of $1,250,000 cash provided by TH Holdco separate from its TH Holdco Credit Bid to be
allocated Pro Rata, based on the total amount of Allowed General Unsecured Claims in Classes 6
and 8, among holders of Allowed General Unsecured Claims against 85 RHO Flatbush Hotel or
85 RHO Flatbush Residential but not with respect to any Allowed General Unsecured Claims
against 85 RHO Flatbush Mezz. This Fund shall be available only if TH Holdco closes the Sale
Transaction as the successful acquirer of either the Hotel Property and the Residential Property or
both Properties.

       1.90 Transfer Tax means a stamp, transfer, mortgage recording or similar tax, including,
without limitation, New York City Real Property Transfer Tax and New York State Real Estate
Transfer Tax.

        1.91 Unimpaired means, with respect to a Claim, Interest or Class of Claims or Interests,
that such Claim or Interest is not “impaired” within the meaning of sections 1123(a)(4) and 1124
of the Bankruptcy Code.

        B.       Interpretation; Application of Definitions and Rules of Construction.

        Unless otherwise specified, all section or exhibit references in the Plan are to the respective
section in, or exhibit to, the Plan, as the same may be amended, waived or modified from time to
time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer
to the Plan as a whole and not to any particular section, subsection or clause contained therein.
The headings in the Plan are for convenience of reference only and shall not limit or otherwise
affect the provisions hereof. For purposes herein: (1) in the appropriate context, each term,
whether stated in the singular or the plural, shall include both the singular and the plural, and
pronouns stated in the masculine, feminine, or neuter gender shall include the masculine, feminine,
and the neuter gender; (2) any reference herein to a contract, lease, instrument, release, indenture,
or other agreement or document being in a particular form or on particular terms and conditions
means that the referenced document shall be substantially in that form or substantially on those
terms and conditions; (3) unless otherwise specified, all references herein to “Sections” are
references to Sections hereof or hereto; (4) the rules of construction set forth in section 102 of the
Bankruptcy Code shall apply; and (5) any term used in capitalized form herein that is not otherwise
defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning
assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

        C.       Controlling Document

        In the event of an inconsistency between the Plan and the Plan Supplement, except for the
terms of the Purchase Agreement, the terms of the Plan shall control (unless stated otherwise in
the Plan). The provisions of the Plan and of the Confirmation Order shall be construed in a manner


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consistent with each other so as to effect the purposes of each; provided that, if there is determined
to be any inconsistency between any Plan provision and any provision of the Confirmation Order
that cannot be so reconciled, then, solely to the extent of such inconsistency, the provisions of the
Confirmation Order shall govern and any such provision of the Confirmation Order shall be
deemed a modification of the Plan and shall control and take precedence.

SECTION 2. ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

        2.1      Administrative Expense Claims.

        Except to the extent that a holder of an Allowed Administrative Expense Claim and the
Debtors agree to different treatment, the Debtors shall pay to each holder of an Allowed
Administrative Expense Claim, Cash in an amount equal to such Claim (plus statutory interest on
such claim, if applicable), on or as soon thereafter as is reasonably practicable, the later of (a) the
Closing Date or (b) the first Business Day after the date that is thirty (30) calendar days after the
date such Administrative Expense Claim becomes an Allowed Administrative Expense Claim;
provided that Allowed Administrative Expense Claims representing liabilities incurred in the
ordinary course of business by the Debtors shall be paid by the Debtors (or TH Holdco on behalf
of the applicable Estate) in the ordinary course of business, consistent with past practice and in
accordance with the terms and subject to the conditions of any agreements governing, instruments
evidencing or other documents relating to such transactions.

        Except as otherwise provided by a Final Order previously entered by the Bankruptcy Court
(including the Bar Date Order), requests for payment of Administrative Expense Claims, other
than requests for payment of Fee Claims, must be filed and served on the Debtors no later than the
Administrative Expense Claims Bar Date pursuant to the procedures specified in the Confirmation
Order and the notice of entry of the Confirmation Order.

        Holders of Administrative Expense Claims that are required to file and serve a request for
payment of such Administrative Expense Claims and that do not file and serve such a request by
the Administrative Expense Claims Bar Date shall be forever barred, estopped, and enjoined from
asserting such Administrative Expense Claims against the Debtors or their property, and the
Administrative Expense Claims shall be deemed compromised, settled, and released as of the
Effective Date. The Debtors or TH Holdco must file and serve objections to Administrative
Expense Claims on or before the Administrative Expense Claims Objection Bar Date.

        2.2      Fee Claims.

        All Entities seeking an award by the Bankruptcy Court of Fee Claims shall (i) provide a
detailed estimate of all fees incurred through the Confirmation Hearing and estimated to be
incurred through the Effective Date and (ii) file their respective final applications for allowance of
compensation for services rendered and reimbursement of expenses incurred by the date that is
thirty (30) days after the Effective Date which date may be extended by agreement between the
parties. No later than ten (10) days prior to the Effective Date, all entities holding claims for Fee
Claims shall serve upon the Debtors and TH Holdco an updated notice of the estimated amount of
their unpaid Fee Claim and the Debtors or TH Holdco shall segregate, into an Estimated
Professional Fee Escrow, the amounts which are necessary to pay the amount of such Fee Claim,


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in full (or in such amount as the Bankruptcy Court sets) subject to Allowance by the Bankruptcy
Court (i) upon the later of (A) the Effective Date and (B) the date upon which the order relating to
any such Allowed Fee Claim is entered or (ii) upon such other terms as may be mutually agreed
upon between the holder of such an Allowed Fee Claim and the Debtors. The Debtors or
Disbursing Agent with the prior written consent of TH Holdco are authorized to pay compensation
for services rendered or reimbursement of expenses incurred after the Confirmation Date in the
ordinary course and without the need for Bankruptcy Court approval. TH Holdco does not consent
to use of any of its collateral or proceeds thereof to pay fees and costs incurred in connection with
litigation or actions adverse to TH Holdco, including, without limitation, in opposition to this Plan
or challenging any aspect of TH Holdco’s Claims in any manner, consistent with the Agreed Final
Cash Collateral Order. The Estimated Professional Fee Escrow shall be funded first from the
Debtors’ cash on hand as of the Effective Date of the Plan and thereafter from the Plan Fund. TH
Holdco with such funding support as may be needed from Ohana shall pay remaining amounts due
for Allowed Professional Fee Claims when due to the extent not already paid from (i) retainers
held by such professionals and (ii) the Plan Fund.

        2.3      Priority Tax Claims.

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a different
treatment, each holder of an Allowed Priority Tax Claim shall receive Cash in an amount equal to
such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the later of
the Closing Date, the first Business Day after the date that is thirty (30) calendar days after the
date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and the date such Allowed
Priority Tax Claim is due and payable in the ordinary course.

SECTION 3. CLASSIFICATION OF CLAIMS AND INTERESTS.

        3.1      Classification in General.

        A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and distribution under this Plan and under sections 1122 and 1123 of the Bankruptcy
Code; provided that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to this Plan only to the extent that such Claim or Interest is an Allowed
Claim or Allowed Interest in that Class and such Claim or Interest has not been satisfied, released,
or otherwise settled prior to the Effective Date.

        3.2      Summary of Classification.

        The following table designates the Classes of Claims against and Interests in the Debtors
and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to
vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code, and (c)
deemed to reject the Plan. In accordance with section 1123 of the Bankruptcy Code,
Administrative Expense Claims and Priority Tax Claims have not been classified and, thus, are
excluded from the classes of Claims and Interests set forth in this Section 3. All of the potential
Classes for the Debtors are set forth herein. There may not be holders of Claims or Interests in a
particular Class or Classes, and such Classes shall be treated as set forth in Section 4. TH Holdco



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reserves the right to modify this Plan as to the treatment of any Class to provide more favorable
treatment of such Class without resolicitation of votes on this Plan.

       Claims in more than one Class (including Claims which are also Administrative Expense
Claims and/or Priority Claims) shall only be entitled to a single payment in full including any
applicable interest under this Plan.

        TH Holdco reserves the right to reclassify any Claim which is filed against 85 Flatbush
RHO Mezz which in fact appears to relate to 85 Flatbush RHO Hotel and/or 85 Flatbush RHO
Residential to the applicable class in 85 Flatbush RHO Hotel and/or 85 Flatbush RHO Residential
provided the treatment of such Claim upon reclassification is more favorable for the applicable
creditor being reclassified. TH Holdco will send written notice of any such proposed
reclassification to the impacted creditor at least 10 Business Days before such reclassification with
an opportunity for that claimant to object.




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 Class          Designation                             Treatment          Entitled to Vote
                                                                                     No
                85 Flatbush RHO Hotel Other
      1                                                    Unimpaired           (presumed to
                Priority Claims
                                                                                   accept)
                                                                                     No
                85 Flatbush RHO Residential
      2                                                    Unimpaired           (presumed to
                Other Priority Claims
                                                                                   accept)
      3         TH Holdco Secured Claim                      Impaired               Yes
                85 Flatbush RHO Hotel Other                                   No (presumed to
      4                                                    Unimpaired
                Secured Claims                                                    accept)
                85 Flatbush RHO Residential                                   No (presumed to
      5                                                    Unimpaired
                Other Secured Claims                                              accept)
                85 Flatbush RHO Hotel General
      6                                                      Impaired               Yes
                Unsecured Claims
                85 Flatbush RHO Hotel Existing
      7                                                      Impaired               Yes
                Equity Interests
                85 Flatbush RHO Residential
      8                                                      Impaired               Yes
                General Unsecured Claims
                85 Flatbush RHO Residential
      9                                                      Impaired               Yes
                Existing Equity Interests
                85 Flatbush Mezz Other Priority
     10                                                      Impaired               Yes
                Claims (if any)
     11         85 Flatbush Mezz Claim                       Impaired               Yes
                85 Flatbush Mezz Other Secured
     12                                                      Impaired               Yes
                Claims (if any)
                85 Flatbush Mezz General
     13                                                      Impaired               Yes
                Unsecured Claims
     14         Insider General Unsecured Claims             Impaired               Yes
                85 Flatbush Mezz Existing Equity
     15                                                      Impaired      No (deemed to reject)
                Interests

          3.3     Special Provision Governing Unimpaired Claims.

        Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtors or TH Holdco in respect of any Unimpaired Claims, including all rights in respect of
legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.




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        3.4      Elimination of Vacant Classes.

        Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes shall be considered vacant, deemed eliminated from the Plan
for purposes of voting to accept or reject the Plan, and disregarded for purposes of determining
whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to that Class.

        3.5      Voting Classes; Presumed Acceptance by Non-Voting Classes.

        If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests
eligible to vote in such Class vote to accept or reject the Plan, TH Holdco shall request the
Bankruptcy Court at the Confirmation Hearing to deem the Plan accepted by the holders of such
Claims or Interests in such Class.

        3.6      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
Code.

        TH Holdco shall seek Confirmation of the Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to any rejecting Class of Claims or Interests. TH Holdco reserves
the right to modify the Plan, in accordance with Article 13 hereof to the extent, if any, that
Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including
by modifying the treatment applicable to a Class of Claims or Interests to render such Class of
Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and the
Bankruptcy Rules. The Plan constitutes a separate Chapter 11 plan for each Debtor.

        The classifications set forth in Classes shall be deemed to apply to each Debtor identified,
except that Class 3 shall apply to each of the Debtors. TH Holdco reserves the right to proceed to
seek confirmation with respect to the Plan as to each Debtor separately and to proceed to confirm
the Plan with respect to some but not all of the Debtors.

SECTION 4. TREATMENT OF CLAIMS AND INTERESTS.

        4.1      85 Flatbush RHO Hotel Other Priority Claims (Class 1).

              (a)  Classification: Class 1 consists of Allowed Other Priority Claims against
85 Flatbush RHO Hotel.

                (b)    Treatment: Except to the extent that a holder of an Allowed Other Priority
Claim against 85 Flatbush RHO Hotel that has agreed to less favorable treatment of such Claim,
each such holder shall receive, in full and final satisfaction of such Claim, Cash from the Plan
Fund allocable to the Hotel Property, in an amount equal to such Claim, payable on the later of the
Closing Date, the date on which such Other Priority Claim becomes an Allowed Other Priority
Claim, or when such claim becomes payable in the ordinary course or as soon as reasonably
practical thereafter.

               (c)   Voting: Class 1 is Unimpaired, and the holders of 85 Flatbush RHO Hotel
Other Priority Claims are conclusively presumed to have accepted the Plan pursuant to section

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1126 of the Bankruptcy Code. Therefore, holders of 85 Flatbush RHO Hotel Other Priority Claims
are not entitled to vote to accept or reject the Plan.

        4.2      85 Flatbush RHO Residential Other Priority Claims (Class 2).

              (a)   Classification: Class 2 consists of Allowed Other Priority Claims against
85 Flatbush RHO Residential.

                (b)    Treatment: Except to the extent that a holder of an Allowed Other Priority
Claim against 85 Flatbush RHO Residential that has agreed to less favorable treatment of such
Claim, each such holder shall receive, in full and final satisfaction of such Claim, Cash from the
Plan Fund allocable to the Residential Property, in an amount equal to such Claim, payable on the
later of the Closing Date, the date on which such Other Priority Claim becomes an Allowed Other
Priority Claim, or when such claim becomes payable in the ordinary course or as soon as
reasonably practical thereafter.

               (c)      Voting: Class 2 is Unimpaired, and the holders of 85 Flatbush RHO
Residential Other Priority Claims are conclusively presumed to have accepted the Plan pursuant
to section 1126 of the Bankruptcy Code. Therefore, holders of 85 Flatbush RHO Residential Other
Priority Claims are not entitled to vote to accept or reject the Plan.

        4.3      TH Holdco Secured Claim (Class 3).

                (a)   Classification: Class 3 consists of the TH Holdco Secured Claim. The TH
Holdco Secured Claim is a Claim pursuant to the TH Holdco Prepetition Loan Agreement, which
is secured by the TH Holdco Mortgage and constitutes a first priority security interest on the Hotel
Property and Residential Property. Nothing herein shall prejudice TH Holdco’s rights under the
Intercreditor Agreement and under orders of this Bankruptcy Court. TH Holdco is a creditor of
85 Flatbush RHO Hotel and 85 Flatbush RHO Residential and reserves all rights under the
Intercreditor Agreement with respect to the ability to vote or direct the Mezz Lender’s claim in the
85 Flatbush RHO Mezz case.

                 (b)       Treatment: The holder of the TH Holdco Secured Claim shall receive:

                 (i)       if the Hotel Property and/or Residential Property is sold to a party other than
                           TH Holdco, Cash in an amount sufficient to satisfy the sum of the Allowed
                           Class 3 Claim, together with all applicable pre-petition and post-petition
                           interest, costs and fees. Pending the Closing of the Sale Transaction, the
                           holder of the Class 3 Claims shall retain its Lien on the Hotel and
                           Residential Property.

                 (ii)      If the Hotel and/or Residential Property is sold to TH Holdco pursuant to a
                           TH Holdco Credit Bid, then TH Holdco shall receive the Hotel and/or
                           Residential Property. In any event, TH Holdco preserves all of its rights
                           and claims against all guarantors and non-Debtor parties.

                           As part of the TH Holdco Credit Bid, TH Holdco its nominee or designee,
                           may elect to take title to any of the Properties subject to the existing TH

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                           Holdco Mortgage (as reduced by the value of the TH Holdco Credit Bid),
                           which TH Holdco Mortgage may be assigned to any such nominee’s or
                           designee’s lender. In the event TH Holdco or its nominee or designee elects
                           to take title to any of the Properties subject to the existing TH Holdco
                           Mortgage, Debtors shall have no further financial obligation to TH Holdco
                           or any assignee of the TH Holdco Mortgage and shall be released from any
                           and all liability to TH Holdco or any assignee with respect to such TH
                           Holdco Mortgage upon the Closing. Nothing herein shall impact TH
                           Holdco’s rights as to any remaining claims against any guarantors or other
                           non-Debtor parties.

                           Pursuant to Section 1146(a) of the Bankruptcy Code, the deeds conveying
                           any of the Properties to TH Holdco or its nominee or designee upon the
                           Effective Date of this Plan shall be an instrument of transfer in connection
                           with or in furtherance of the Plan and shall not be subject to tax under any
                           law imposing a Transfer Tax.

                (c)      Voting. Class 3 is Impaired, and holder of the TH Holdco Secured Claim
in Class 3 is entitled to vote to accept or reject the Plan.

        4.4      Flatbush RHO Hotel Other Secured Claims (Class 4).

                (a)     Classification: Class 4 consists of the 85 Flatbush RHO Hotel Other
Secured Claims. To the extent that 85 Flatbush RHO Hotel Other Secured Claims are secured by
different collateral or different interests in the same collateral, such Claims shall be treated as
separate subclasses of Class 4.

                (b)   Treatment: Except to the extent that a holder of an Allowed 85 Flatbush
RHO Hotel Other Secured Claim has agreed to less favorable treatment of such Claim each such
holder shall receive Cash from the Plan Fund allocable to the Hotel Property, in an amount equal
to such Allowed Claim, payable on the later of the Effective Date and the date on which such 85
Flatbush RHO Hotel Other Secured Claim becomes an Allowed 85 Flatbush RHO Hotel Other
Secured Claim.

              (c)    Voting: Class 4 is Unimpaired, and the holders of 85 Flatbush RHO Hotel
Other Secured Claims are not entitled to vote to accept or reject the Plan.

        4.5      85 Flatbush RHO Residential Other Secured Claims (Class 5).

                (a)    Classification: Class 5 consists of the 85 Flatbush RHO Residential Other
Secured Claims. To the extent that 85 Flatbush RHO Residential Other Secured Claims are
secured by different collateral or different interests in the same collateral, such Claims shall be
treated as separate subclasses of Class 5.

              (b)     Treatment: Except to the extent that a holder of an Allowed 85 Flatbush
RHO Residential Other Secured Claim has agreed to less favorable treatment of such Claim each
such holder shall receive Cash from the Plan Fund allocable to the Residential Property, in an
amount equal to such Allowed Claim, payable on the later of the Effective Date and the date on

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which such 85 Flatbush RHO Residential Other Secured Claim becomes an Allowed 85 Flatbush
RHO Residential Other Secured Claim.

              (c)     Voting: Class 5 is Unimpaired, and the holders of 85 Flatbush RHO
Residential Other Secured Claims are not entitled to vote to accept or reject the Plan.

        4.6      85 Flatbush RHO Hotel General Unsecured Claims (Class 6).

             (a)    Classification: Class 6 consists of General Unsecured Claims against 85
Flatbush RHO Hotel.

                (b)      Treatment: Except to the extent that a holder of an Allowed 85 Flatbush
RHO Hotel General Unsecured Claim (Class 6) has agreed to less favorable treatment of such
Claim, if TH Holdco is the Purchaser, each such holder shall receive Cash in an amount equal to
the amount of the Allowed Claim, together with interest at the federal judgment rate (which interest
shall begin accruing on the Effective Date and shall stop accruing at the time of payment in full),
as follows: (i) an initial Cash distribution on or about the Effective Date of such Claim’s Pro Rata
share of the $1.25 million TH Holdco Unsecured Claim Dedicated Fund, (ii) quarterly distributions
thereafter of such Claim’s Pro Rata share of 50% of the excess cash flow from operations of the
Hotel Property and the Residential Property until such Claim is paid in full in Cash together with
interest at the federal judgment rate on such Claim (which interest shall begin accruing on the
Effective Date and shall stop accruing at the time of payment in full), and (iii) if any amounts
remain unpaid on such Claim as of the 12-month anniversary of the Effective Date, a final Cash
payment in an amount sufficient to pay the remaining unpaid amount of such Claim in full in Cash
together with interest at the federal judgment rate on such Claim (which interest shall begin
accruing on the Effective Date and shall stop accruing at the time of payment in full) from the TH
Holdco Unsecured Claim Additional Funding.

              TH Holdco reserves its rights on its remaining claim as to all guarantors and all
non-Debtor parties.

              In the event that a Purchaser other than TH Holdco closes the Sale Transaction,
payments to creditors shall be made in accordance with Bankruptcy Code priorities. Class 6
General Unsecured Claims shall be paid their pro rata share of the remaining Sale Proceeds, in
accordance with their statutory priority, by such Purchaser from the cash proceeds of such Sale
Transaction.

                 Voting: Class 6 is impaired and holders of General Unsecured Claims in Class 6
are entitled to vote to accept or reject the Plan.

        4.7      85 Flatbush RHO Hotel Existing Equity Interests (Class 7).

                 (a)       Classification: Class 7 consists of Existing Equity Interests in 85 Flatbush
RHO Hotel.

                (b)     Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, Equity Interests in the Debtors will be cancelled and holders of Existing Equity
Interests will not receive any recovery on account of their Equity Interests, provided however, that

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after payment is made in full to holders of Allowed Administrative Claims, Allowed Priority Tax
Claims, Allowed Fee Claims and Allowed Claims in Classes 1, 2, 3, 4, and 5, and to the extent
there is any remaining Cash in the Plan Fund allocable to either the Hotel Property or the
Residential Property for distribution to Class 7 Existing Equity Interests in 85 Flatbush RHO Hotel
and Class 9 Existing Equity Interests in 85 Flatbush RHO Residential, any such funds shall be
distributed to the holders of the 85 Flatbush Mezz Claim, subject to such holders’ lien on the 85
Flatbush RHO Hotel Existing Equity Interests.

               (c)     Voting: Class 7 is impaired by the Plan and the holders of Allowed Existing
Equity Interests in 85 Flatbush RHO Hotel are entitled to vote to accept or reject the Plan.

        4.8      85 Flatbush RHO Residential General Unsecured Claims (Class 8).

             (a)   Classification: Class 8 consists of General Unsecured Claims against 85
Flatbush RHO Residential.

                 (b)     Treatment: Except to the extent that a holder of an Allowed 85 Flatbush
RHO Residential General Unsecured Claim (Class 8) has agreed to less favorable treatment of
such Claim, if TH Holdco is the Purchaser, each such holder shall receive Cash in an amount equal
to the amount of the Allowed Claim, together with interest at the federal judgment rate (which
interest shall begin accruing on the Effective Date and shall stop accruing at the time of payment
in full), as follows: (i) an initial Cash distribution on or about the Effective Date of such Claim’s
Pro Rata share of the $1.25 million TH Holdco Unsecured Claim Dedicated Fund, (ii) quarterly
distributions thereafter of such Claim’s Pro Rata share of 50% of the excess cash flow from
operations of the Hotel Property and the Residential Property until such Claim is paid in full in
Cash together with interest at the federal judgment rate on such Claim (which interest shall begin
accruing on the Effective Date and shall stop accruing at the time of payment in full), and (iii) if
any amounts remain unpaid on such Claim as of the 12-month anniversary of the Effective Date,
a final Cash payment in an amount sufficient to pay the remaining unpaid amount of such Claim
in full in Cash together with interest at the federal judgment rate on such Claim (which interest
shall begin accruing on the Effective Date and shall stop accruing at the time of payment in full)
from the TH Holdco Unsecured Claim Additional Funding.

              TH Holdco reserves its rights on its remaining claim as to all guarantors and all
non-Debtor parties.

       In the event that a Purchaser other than TH Holdco closes the Sale Transaction, payments
to creditors shall be made in accordance with Bankruptcy Code priorities. Class 8 General
Unsecured Claims shall be paid their pro rata share of the remaining Sale Proceeds, in accordance
with their statutory priority, by such Purchaser from the cash proceeds of such Sale Transaction.

                (c)     Voting: Class 8 is impaired and holders of General Unsecured Claims in
Class 8 are entitled to vote to accept or reject the Plan.

        4.9      85 Flatbush RHO Residential Existing Equity Interests (Class 9).

            (a)            Classification: Class 9 consists of Existing Equity Interests in 85 Flatbush
RHO Residential.

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                (b)     Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, Equity Interests in the Debtors will be cancelled and holders of Existing Equity
Interests will not receive any recovery on account of their Equity Interests, provided however, that
after payment is made in full to holders of Allowed Administrative Claims, Allowed Priority Tax
Claims, Allowed Fee Claims and Allowed Claims in Classes 1, 2, 3, 4, and 5, and to the extent
there is any remaining Cash in the Plan Fund allocable to either the Hotel Property or the
Residential Property for distribution to Class 7 Existing Equity Interests in 85 Flatbush RHO Hotel
and Class 9 Existing Equity Interests in 85 Flatbush RHO Residential, any such funds shall be
distributed to the holders of the 85 Flatbush Mezz Claim, subject to such holders’ lien on the 85
Flatbush RHO Residential Existing Equity Interests.

               (c)     Voting: Class 9 is impaired by the Plan and the holders of Allowed Existing
Equity Interests in 85 Flatbush RHO Residential are entitled to vote to accept or reject the Plan.

        4.10     85 Flatbush RHO Mezz Other Priority Claims (Class 10).

              (a)  Classification: Class 10 consists of Allowed Other Priority Claims against
85 Flatbush RHO Mezz. There may be not be any Claims in Class 10.

                (b)     Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims
in Classes 1, 2, 3, 4, and 5, and to the extent there is any remaining Cash in the Plan Fund, and
except to the extent that a holder of an Allowed Other Priority Claim against 85 Flatbush RHO
Mezz has agreed to less favorable treatment of such Claim, each such holder shall receive, in full
and final satisfaction of such Claim, their Pro Rata share of the remaining Cash from the Plan
Fund, up to the full amount of their Allowed Claim, payable on the later of the Closing Date, the
date on which such Other Priority Claim becomes an Allowed Other Priority Claim, or when such
claim becomes payable in the ordinary course or as soon as reasonably practical thereafter.

               (c)   Voting: Class 10 is impaired, and the holders of Other Priority Claims
against 85 Flatbush RHO Mezz are entitled to vote to accept or reject the Plan.

        4.11     85 Flatbush Mezz Claim (Class 11).

              (a)    Classification: Class 11 consists of the 85 Flatbush Mezz Claim. The 85
Flatbush Mezz Claim is a Secured Claim pursuant to the 85 Flatbush Mezz Loan Agreement, which
is secured by the 85 Flatbush Hotel Pledge Agreement and 85 Flatbush Residential Pledge
Agreement.

                (b)      Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims
in Classes 1, 2, 3, 4, 5, and 10, and to the extent there is any remaining Cash in the Plan Fund, the
holder of the 85 Flatbush Mezz Claim shall receive, in full and final satisfaction of such Claim, its
Pro Rata share of the remaining Cash from the Plan Fund up to the full amount of its Allowed
Claim. The 85 Flatbush Mezz Claim shall be subject in all respects to the Intercreditor Agreement,
and TH Holdco reserves all rights and remedies under the Intercreditor Agreement, including but
not limited to the right to vote the Mezz Lender’s 85 Flatbush Mezz Claim (Class 11) in favor of
the Plan pursuant to the power of attorney and Section 9 of the Intercreditor Agreement.

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                (c)    Voting: Class 11 is impaired, and holder of the 85 Flatbush Mezz Secured
Claim is entitled to vote to accept or reject the Plan.

        4.12     85 Flatbush RHO Mezz Other Secured Claims (Class 12).

                (a)     Classification: Class 12 consists of the 85 Flatbush RHO Mezz Other
Secured Claims. To the extent that 85 Flatbush RHO Mezz Other Secured Claims are secured by
different collateral or different interests in the same collateral, such Claims shall be treated as
separate subclasses of Class 12. There may not be any Claims in Class 12.

                (b)      Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in Classes 1, 2, 3, 4, 5, 10, and 11, and to the extent there is any remaining Cash in the Plan Fund,
such surplus shall be paid to Allowed Class 12 Other Secured Creditors, in accordance with their
statutory priority as follows: except to the extent that a holder of an Allowed 85 Flatbush RHO
Mezz Other Secured Claim against 85 Flatbush RHO Mezz has agreed to less favorable treatment
of such Claim, each holder of an Allowed 85 Flatbush RHO Mezz Other Secured Claim shall
receive, at the option of 85 Flatbush RHO Mezz, (i) payment in full and final satisfaction of such
Allowed Class 12 Claim, their Pro Rata share of the remaining Cash from the Plan Fund up to the
amount of such Allowed Claim payable on the later of the Closing Date and the date on which
such 85 Flatbush RHO Mezz Other Secured Claim becomes an Allowed Claim, or as soon as
reasonably practical thereafter, (ii) delivery of the collateral securing such Allowed 85 Flatbush
RHO Mezz Other Secured Claim and payment of any interest required under section 506(b) of the
Bankruptcy Code, or (iii) such other treatment necessary to satisfy section 1129 of the Bankruptcy
Code.

               (c)   Voting: Class 12 is impaired, and the holders of Other Secured Claims
against 85 Flatbush RHO Mezz are entitled to vote to accept or reject the Plan.

        4.13     85 Flatbush RHO Mezz General Unsecured Claims (Class 13)

             (a)   Classification: Class 13 consists of General Unsecured Claims against 85
Flatbush RHO Mezz.

                (b)      Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in Classes 1, 2, 3, 4, 5, 10, 11, and 12, in to the extent there is any remaining Cash in the Plan
Fund, on the Closing Date and except to the extent that a holder of an Allowed General Unsecured
Claim agrees to less favorable treatment of such Allowed General Unsecured Claim or has been
paid before the Effective Date, each holder of an Allowed General Unsecured Claim shall receive,
in full and final satisfaction of such Claim, its Pro Rata share of the remaining Cash from the Plan
Fund up to the full amount of their Allowed Claim. If Class 13 Allowed Claims are de minimis,
TH Holdco with additional funding from its direct or indirect owners may elect to pay such Claims
in full on or about the Effective Date.

               (c)      Voting: Class 13 is impaired and holders of General Unsecured Claims in
Class 13 are entitled to vote to accept or reject the Plan.


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        4.14     Insider General Unsecured Claims (Class 14)

                (a)     Classification: Class 14 consists of Insider General Unsecured Claims. To
the extent the holder of any General Unsecured Claim is determined by the Bankruptcy Court to
be in fact a Class 6, Class 8 or Class 13 General Unsecured Claim or Class 15 Interest rather than
a Class 14 General Unsecured Claim, such Claim shall instead be treated in accordance with the
treatment of such Class.

                (b)      Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in Classes 1, 2, 3, 4, 5, 10, 11, 12, and 13, in to the extent there is any remaining Cash in the Plan
Fund, on the Closing Date and except to the extent that a holder of an Allowed General Unsecured
Claim agrees to less favorable treatment of such Allowed General Unsecured Claim or has been
paid before the Effective Date, each holder of an Allowed General Unsecured Claim shall receive,
in full and final satisfaction of such Claim, its Pro Rata share of the remaining Cash from the Plan
Fund up to the full amount of their Allowed Claim.

              (c)     Voting: Class 14 is impaired and holders of Insider General Unsecured
Claims in Class 14 are entitled to vote to accept or reject the Plan.

        4.15     85 Flatbush RHO Mezz Existing Equity Interests (Class 15)

                 (a)       Classification: Class 15 consists of Existing Equity Interests in 85 Flatbush
RHO Mezz.

                (b)      Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, Equity Interests in the Debtors will be cancelled and holders of Existing Equity
Interests will not receive any recovery on account of their Equity Interests other than any remaining
proceeds in the Plan Fund from an overbid from a Purchaser other than TH Holdco.

               (c)     Voting: Class 15 is impaired by the Plan, and the holders of the Allowed
Existing Equity Interests in 85 Flatbush RHO Mezz are conclusively presumed to have rejected
the Plan pursuant to section 1126(g) of the Bankruptcy Code.

SECTION 5. MEANS FOR IMPLEMENTATION.

        5.1      The Plan Fund.

        The Plan Fund shall be funded by (i) the TH Holdco Additional Consideration, (ii) the Sale
Proceeds (if any), which shall be allocable to the Hotel Property and the Residential Property as
set forth in the Purchase Agreement, and (iii) the Debtors’ Available Cash, and shall be established
upon the Closing Date. Creditor distributions to be made separate from or later than the Closing
Date shall be made by the Disbursing Agent under the Plan.

        Any remaining retainers held by any of the Debtors’ professionals shall be applied to the
fees of such professional as provided in an order of the Bankruptcy Court allowing the fees of such
professional.


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        In addition, if TH Holdco acquires the Hotel Property and/or the Residential Property
pursuant to the TH Holdco Credit Bid, TH Holdco shall fund the TH Holdco Unsecured Claim
Dedicated Fund for the sole Pro Rata benefit of holders of Allowed General Unsecured Claims in
Classes 6 and 8 and the TH Holdco Unsecured Claim Additional Funding for the sole Pro Rata
benefit of holders of Allowed General Unsecured Claims in Classes 6 and 8.

        5.2      The Sale

        The Confirmation Order shall authorize and approve the Sale Transaction to the Purchaser
under sections 365, 1123(b)(4), 1129(b)(2)(A)(iii) and 1146(a) of the Bankruptcy Code. The
Auction shall be held promptly after the Confirmation Hearing pursuant to the Sale and Bid
Procedures approved by the Bankruptcy Court. A proposed form of the Sale and Bid Procedures
is attached as Exhibit E to the Disclosure Statement. A proposed form of Purchase Agreement
based on a purchase agreement approved in another real estate case before this Bankruptcy Court
is attached as Exhibit F to the Disclosure Statement. The proposed form of the Sale and Bid
Procedures and Purchase Agreement are subject to approval of the Bankruptcy Court. Those
procedures may be provided by the Debtors or JLL to any interested parties or bidders identified
during the Debtors’ marketing process. Further, TH Holdco will advertise the opportunity to bid
in the Wall Street Journal, National Edition, in a form of ad approved by the Bankruptcy Court in
the Confirmation Order. If there is no Auction pursuant to the Sale and Bid Procedures, TH Holdco
is requiring that the Confirmation Order provide that the TH Holdco Credit Bid and other
consideration pursuant to this Plan is deemed approved and accepted and can immediately close
without further order of this Bankruptcy Court.

       The Sale and Bid Procedures will provide for sufficient incremental bidding so that holders
of Allowed General Unsecured Claims in Classes 6 and 8 will receive the same or greater treatment
on account of their Allowed Claim, if a successful bidder other than TH Holdco acquires the Hotel
Property and/or the Residential Property.

        5.3      Intentionally Omitted.

        5.4      Withholding and Reporting Requirements.

                (a)    Withholding Rights: In connection with the Plan, any party issuing any
instrument or making any distribution described in the Plan shall comply with all applicable
withholding and reporting requirements imposed by any federal, state, or local taxing authority,
and all distributions pursuant to the Plan and all related agreements shall be subject to any such
withholding or reporting requirements. Notwithstanding the foregoing, each holder of an Allowed
Claim or any other Person that receives a distribution pursuant to the Plan shall have responsibility
for any taxes imposed by any Governmental Unit, including, without limitation, income,
withholding, and other taxes, on account of such distribution. Any party issuing any instrument
or making any distribution pursuant to the Plan has the right, but not the obligation, to not make a
distribution until such holder has made arrangements satisfactory to such issuing or disbursing
party for payment of any such tax obligations.

               (b)    Forms: Any party entitled to receive any property as an issuance or
distribution under the Plan shall, upon request, deliver to the Disbursing Agent or such other


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Person designated in the Confirmation Order (which entity shall subsequently deliver to the
Disbursing Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-
9 or (if the payee is a foreign Person) Form W-8, unless such Person is exempt under the tax Code
and so notifies the Disbursing Agent. If such request is made by TH Holdco or such other Person
designated by TH Holdco and the holder fails to comply before the date that is 180 days after the
request is made, the amount of such distribution shall irrevocably revert to TH Holdco and any
Claim in respect of such distribution shall be discharged and forever barred from assertion against
any Debtor, TH Holdco and its respective property.

        5.5      Exemption From Certain Transfer Taxes.

        To the maximum extent provided by section 1146(a) of the Bankruptcy Code, the issuance,
transfer, or exchange of any security and the making or delivery of any instrument of transfer under
this Plan as confirmed by the Court, including an instrument of transfer executed in furtherance of
the Sale Transaction contemplated by the Plan, shall not be subject to tax under any law imposing
a Transfer Tax due on the sale of the Hotel Property and/or Residential Property in connection
with or in furtherance of the Plan as confirmed by the Bankruptcy Court and the funding
requirements contained herein and shall not be subject to any state, local or federal law imposing
such tax and the appropriate state or local government officials or agents shall forego collection of
any such tax or governmental assessment and accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental assessment.

        Pursuant to Section 1146(a) of the Bankruptcy Code, the deeds conveying any of the
Properties to TH Holdco or its nominee or designee upon the Effective Date of this Plan shall be
an instrument of transfer in connection with or in furtherance of the Plan and shall not be subject
to tax under any law imposing a Transfer Tax.

        5.6      Effectuating Documents; Further Transactions.

        On and after the Effective Date, TH Holdco on behalf of the Debtors and the Estates is
authorized to and may issue, execute, deliver, file or record such contracts, securities, instruments,
releases, and other agreements or documents and take such actions as may be necessary or
appropriate to effectuate, implement and further evidence the terms and conditions of the Plan in
the name of and on behalf of the Debtors and the Estates, without the need for any approvals,
authorization, or consents except for those expressly required pursuant to the Plan.

        5.7      Avoidance Actions and Other Causes of Action.

        All Avoidance Actions and other Causes of Action against an Entity that shall be waived,
relinquished, exculpated, released, compromised, or settled under the Plan or by a Bankruptcy
Court order, unless otherwise expressly preserved in the Confirmation Order.

        5.8      Closing of the Chapter 11 Cases.

       After any of the Chapter 11 Cases of the Debtors have been fully administered, the Debtors
or TH Holdco shall promptly seek authority from the Bankruptcy Court to close such applicable
Chapter 11 Case in accordance with the Bankruptcy Code and the Bankruptcy Rules.


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SECTION 6. GOVERNANCE.

        6.1      Wind Down.

        The Debtors shall be dissolved promptly after the Effective Date. The Disbursing Agent
shall hold any funds for any Disputed Claims or other winddown expenses not yet paid or pre-paid
until Disputed Claims are adjudicated in a Final Order or such other winddown expenses are paid
in Cash.

        6.2      Intentionally Omitted.

        6.3      Intentionally Omitted.

        6.4      Intentionally Omitted.

SECTION 7. DISTRIBUTIONS.

        7.1      Distribution Record Date.

        As of the close of business on the Distribution Record Date, the transfer register for each
of the Classes of Claims or Interests as maintained by the Bankruptcy Court shall be deemed
closed, and there shall be no further changes in the record of holders of any of the Claims or
Interests. The Disbursing Agent shall have no obligation to recognize any transfer of the Claims
or Interests occurring on or after the Distribution Record Date.

        7.2      Date of Distributions

        Except as otherwise provided herein, and other than the distributions to be made at the
Closing of the Sale Transaction, the Disbursing Agent shall make all distributions to Holders of
Allowed Claims as set forth in the Plan. In the event that any payment or act under the Plan is
required to be made or performed on a date that is not a Business Day, then the making of such
payment or the performance of such act may be completed on or as soon as reasonably practicable
after the next succeeding Business Day, but shall be deemed to have been completed as of the
required date.

        The Disbursing Agent shall reserve an amount sufficient to pay holders of Disputed Claims
the amount such holders would be entitled to receive under the Plan if such Claims were to become
Allowed Claims, unless otherwise ordered by the Bankruptcy Court. In the event the holders of
Allowed Claims have not received payment in full on account of their Claims after the resolution
of all Disputed Claims, then the Disbursing Agent shall make a final Pro Rata distribution to all
holders of Allowed Claims.

       Notwithstanding anything to the contrary in the Plan, no holder of an Allowed Claim shall,
on account of such Allowed Claim, receive a distribution in excess of the Allowed amount of such
Claim plus any interest accruing on such Claim that is actually payable in accordance with the
Plan.




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        7.3      Delivery of Distributions.

        In the event that any distribution to any holder is returned as undeliverable, no distribution
to such holder shall be made unless and until the Disbursing Agent has determined the then current
address of such holder, at which time such distribution shall be made to such holder without
Interest; provided, however, such distributions shall be deemed unclaimed property under section
347(b) of the Bankruptcy Code at the expiration of six months from the date the distribution is
made. After such date, all unclaimed property or interests in property shall revert (notwithstanding
any applicable federal or state escheat, abandoned, or unclaimed property laws to the contrary) to
TH Holdco automatically and without need for a further order by the Bankruptcy Court for
distribution in accordance with the Plan and the Claim of any such holder to such property or
interest in property shall be released, settled, compromised, and forever barred. Neither the
Debtors, TH Holdco nor the Disbursing Agent shall have any obligation to locate the current
address for a returned distribution.

        7.4      Manner of Payment Under Plan.

      At the option of the Disbursing Agent, any Cash payment to be made hereunder may be
made by a check or wire transfer.

        7.5      Minimum Cash Distributions.

        The Disbursing Agent shall not be required to make any payment to any holder of an
Allowed Claim on any Distribution Date of Cash less than $10; provided, however, that if any
distribution is not made pursuant to this Section 7.5, such distribution shall be added to any
subsequent distribution to be made on behalf of the holder’s Allowed Claim. The Disbursing
Agent shall not be required to make any final distributions of Cash less than $10 to any holder of
an Allowed Claim. If either (a) all Allowed Claims (other than those whose distributions are
deemed undeliverable hereunder) have been paid in full or (b) the amount of any final distributions
to holders of Allowed Claims would be $10 or less and the aggregate amount of Cash available
for distributions to holders of Allowed General Unsecured Claims is less than $2,500, then no
further distribution shall be made by the Disbursing Agent and any surplus Cash shall be utilized
to pay down any unpaid legal fees incurred by counsel to the Disbursing Agent post-confirmation.

        7.6      Setoffs.

        The Estates through the Disbursing Agent may, but shall not be required to, set off against
any Claim, any claims of any nature whatsoever that the Estates may have against the holder of
such Claim; provided that neither the failure to do so nor the allowance of any Claim hereunder
shall constitute a waiver or release by the Debtors of any such Claim the Debtors may have against
the holder of such Claim. Nothing herein shall impact the TH Holdco Credit Bid.

        7.7      Distributions After Effective Date.

       Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed
to have been made on the Effective Date.


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        7.8      Allocation of Distributions Between Principal and Interest.

         Except as otherwise provided in this Plan, to the extent that any Allowed Claim entitled to
a distribution under the Plan is comprised of indebtedness and accrued but unpaid interest thereon,
such distribution shall be allocated to the accrued but unpaid interest first and then to principal
(each as determined for U.S. federal income tax purposes).

        7.9      Payment of Disputed Claims.

         As Disputed Claims are resolved pursuant to Section 8 hereof, the Disbursing Agent shall
make distributions on account of such Disputed Claims as if such Disputed Claims were Allowed
Claims as of the Effective Date. Such distributions shall be made on the first Distribution Date
that is at least forty-five (45) days after the date on which a Disputed Claim becomes an Allowed
Claim, or on an earlier date selected by the Disbursing Agent in its sole discretion.

SECTION 8. PROCEDURES FOR DISPUTED CLAIMS.

        8.1      Allowance of Claims.

         After the Effective Date, the Debtors and TH Holdco shall have and shall retain any and
all rights and defenses that the Debtors had with respect to any Disputed Claim, except with respect
to any Claim deemed Allowed under this Plan. Except as expressly provided in this Plan or in any
order entered in the Chapter 11 Cases prior to the Effective Date (including, without limitation,
the Confirmation Order), no Claim shall become an Allowed Claim unless and until such Claim is
deemed under this Plan or the Bankruptcy Code or the Bankruptcy Court has entered a Final Order,
including, without limitation, the Confirmation Order, in the Chapter 11 Cases allowing such
Claim. Nothing herein shall impact the TH Holdco Credit Bid and TH Holdco’s rights under
orders of this Bankruptcy Court or the Intercreditor Agreement.

        8.2      Objections to Claims.

         As of the Effective Date, objections to and requests for estimation of, Claims against the
Debtors may be interposed and prosecuted only by the Debtors or TH Holdco. Such objections
and requests for estimation shall be served and filed (a) on or before the 60th day following the
later of (i) the Effective Date and (ii) the date that a proof of Claim is filed or amended or a Claim
is otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or (b) such
later date as ordered by the Bankruptcy Court upon motion filed by the Debtors or TH Holdco.
Once the TH Holdco Credit Bid is made and approved by the Court, nothing herein shall impact
the TH Holdco Credit Bid and TH Holdco’s rights under orders of this Bankruptcy Court or the
Intercreditor Agreement.

        8.3      Estimation of Claims.

        The Debtors or TH Holdco may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether the Debtor or TH Holdco previously objected to such Claim or whether the
Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court will retain
jurisdiction to estimate any Claim at any time during litigation concerning any objection to any

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Claim, including, without limitation, during the pendency of any appeal relating to any such
objection. In the event that the Bankruptcy Court estimates any contingent, unliquidated, or
Disputed Claim, the amount so estimated shall constitute either the Allowed amount of such Claim
or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, the Debtor or TH Holdco,
as applicable, may pursue supplementary proceedings to object to the allowance of such Claim.
All of the aforementioned objection, estimation and resolution procedures are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy
Court. Nothing herein shall impact the TH Holdco Credit Bid and TH Holdco’s rights under orders
of this Bankruptcy Court or the Intercreditor Agreement.

        8.4      No Distributions Pending Allowance.

       If an objection to a Claim is filed as set forth in Section 8, no payment or distribution
provided under the Plan shall be made on account of such Claim unless and until such Disputed
Claim becomes an Allowed Claim. Nothing herein shall impact the TH Holdco Credit Bid and
TH Holdco’s rights under orders of this Bankruptcy Court or the Intercreditor Agreement.

        8.5      Resolution of Claims.

         Except as otherwise provided herein, or in any contract, instrument, release, indenture, or
other agreement or document entered into in connection with this Plan, in accordance with section
1123(b) of the Bankruptcy Code, the Debtors or TH Holdco shall retain and may enforce, sue on,
settle, or compromise (or decline to do any of the foregoing) all Claims, Disputed Claims, rights,
Causes of Action (to the extent preserved under the Confirmation Order and this Plan), suits and
proceedings, whether in law or in equity, whether known or unknown, that the Debtor or their
estates may hold against any Person, without the approval of the Bankruptcy Court, the
Confirmation Order, and any contract, instrument, release, indenture, or other agreement entered
into in connection herewith. The Debtors, TH Holdco or their successor may pursue such retained
Claims, rights, Causes of Action (to the extent preserved in the Confirmation Order), suits or
proceedings, as appropriate, in accordance with the best interests of the Estates.

        8.6      Intentionally Omitted

SECTION 9. EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

        9.1      Assumption and Assignment of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in the Plan, each Executory Contract
and Unexpired Lease not previously rejected, assumed, or assumed and assigned shall be deemed
automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such
Executory Contract or Unexpired Lease: (1) is specifically described in the Purchase Agreement
as being assumed or assumed and assigned to Purchaser in connection with Confirmation of the
Plan or under the Purchase Agreement; (2) as of the Effective Date is subject to a pending motion
to assume such Unexpired Lease or Executory Contract; (3) was previously assumed or assumed
and assigned to a third party during the pendency of the Chapter 11 Cases; or (4) is a contract,
instrument, release, indenture, or other agreement or document entered into in connection with the

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Plan. Notice of any Executory Contract or Unexpired Lease being assumed, assumed and assigned
or rejected pursuant to the Plan shall be provided to the applicable contract counter party or lessor
pursuant to the provisions in the Confirmation Order.

        9.2      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

        Any Cure Obligation due under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment in Cash on the Closing Date, subject to the limitation described below, by the
Debtor as an Administrative Claim or by the Purchaser, as applicable, or on such other terms as
the parties to such Executory Contracts or Unexpired Leases may otherwise agree.

        In the event of a dispute regarding (1) the amount of the Cure Obligation, (2) the ability of
the Debtors’ Estates or any assignee to provide “adequate assurance of future performance” (within
the meaning of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired
Lease to be assumed, or (3) any other matter pertaining to assumption, the Cure Obligations
required by section 365(b)(1) of the Bankruptcy Code shall be satisfied following the entry of a
Final Order or orders resolving the dispute and approving the assumption; provided that,
depending on whether the Disbursing Agent or the Purchaser has the obligation to pay the Cure
Obligation, such party may settle any dispute regarding the amount of any Cure Obligation without
any further notice to any party or any action, order, or approval of the Bankruptcy Court.

        At least fourteen (14) days before the Confirmation Hearing, the Debtors or TH Holdco
shall cause notice of proposed Cure Obligations to be sent to applicable counterparties to the
Executory Contracts and Unexpired Leases. Any objection by such counterparty must be filed,
served, and actually received by the Debtors and TH Holdco not later than ten (10) days after
service of notice of the proposed assumption and associated Cure Obligation. Any counterparty
to an Executory Contract or Unexpired Lease that fails to object timely to the proposed cure
amount will be deemed to have assented to such Cure Obligation and waived any objections to
such assumption and assignment.

        The Estates shall cause notice of proposed Cure Obligations to be sent to applicable
counterparties to all the Executory Contracts and Unexpired Leases not later than ten (10) days
after the Confirmation Order is entered, unless such notice was previously sent out pursuant to the
paragraph immediately preceding this one. Any objection by such counterparty must be filed,
served, and actually received by the Debtors and TH Holdco not later than ten (10) days after
service of notice of the proposed assumption and associated Cure Obligation. Any counterparty
to an Executory Contract or Unexpired Lease that fails to object timely to the proposed cure
amount will be deemed to have assented to such Cure Obligation and waived any objections to
such assumption and assignment. Separate notice to the contract and lease counterparties shall be
provided as to any other prevailing bidder or Back-Up Bidder at the Auction as set forth in the
Sale and Bid Procedures immediately following the Auction.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan, or
otherwise, shall result in the full release and satisfaction of any Claims or defaults, subject to
satisfaction of the Cure Obligations, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other bankruptcy-


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related defaults, arising under any assumed Executory Contract or Unexpired Lease at any time
before the Effective Date of assumption and/or assignment. Any prepetition default amount set
forth in the Schedules and/or any Proofs of Claim filed with respect to an Executory Contract or
Unexpired Lease that has been assumed and assigned shall be deemed disallowed and expunged,
without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

        9.3      Claims Based on Rejection of Executory Contracts and Unexpired Leases

        Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim based
on the rejection of the Executory Contracts or Unexpired Leases pursuant to the Plan or otherwise,
must be filed with Bankruptcy Court and served on the Debtors and TH Holdco no later than
fourteen (14) days after the earlier of the Effective Date or the effective date of rejection of such
Executory Contract or Unexpired Lease. In addition, any objection to the rejection of an Executory
Contract or Unexpired Lease must be filed with the Bankruptcy Court and served on the Debtors,
no later than fourteen (14) days after service of the proposed rejection of such Executory Contract
or Unexpired Lease.

        Any holders of Claims arising from the rejection of an Executory Contract or
Unexpired Lease for which Proofs of Claims were not timely filed as set forth in the
paragraph above shall not (1) be treated as a creditor with respect to such Claim, (2) be
permitted to vote to accept or reject the Plan on account of any Claim arising from such
rejection, or (3) participate in any distribution in the Chapter 11 Cases on account of such
Claim, and any Claims arising from the rejection of an Executory Contract or Unexpired
Lease not filed with the Bankruptcy Court within such time will be automatically disallowed,
forever barred from assertion, and shall not be enforceable against the Debtors, the Debtors’
Estate, TH Holdco, the Purchaser or the Hotel Property or Residential Property for any of
the foregoing without the need for any objection by the Debtors or TH Holdco further notice
to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed
fully compromised, settled, and released, notwithstanding anything in the Schedules or a
Proof of Claim to the contrary. All Allowed Claims arising from the rejection of the Debtors’
prepetition Executory Contracts or prepetition Unexpired Leases shall be classified as General
Unsecured Claims, except as otherwise provided by order of the Bankruptcy Court.

        9.4      Purchase Agreement

       The assumption or rejection of any Executory Contract or Unexpired Lease pursuant to the
Plan shall be subject in all respects to Purchaser’s rights and obligations, including any Cure
Obligations assumed by it in accordance with the Purchase Agreement, with respect to any such
Executory Contracts or Unexpired Leases assigned Purchaser pursuant to the terms of the Purchase
Agreement.

        9.5      Modifications, Amendments, Supplements, Restatements, or Other Agreements

      Unless otherwise provided in the Plan, each assumed Executory Contract or Unexpired
Lease shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and all


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Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
rejected or repudiated under the Plan.

       Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

        9.6      Reservation of Rights

        Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor
anything contained in the Plan, shall constitute an admission by the Debtors or TH Holdco that
any such contract or lease is in fact an Executory Contract or Unexpired Lease or that the Debtors’
Estates have any liability thereunder. In the event of a dispute regarding whether a contract or
lease is or was executory or unexpired at the time of assumption or rejection, the Debtors or TH
Holdco, shall have 60 days following entry of a Final Order resolving such dispute to alter the
treatment of such contract or lease as otherwise provided in the Plan.

SECTION 10.                CONDITIONS PRECEDENT TO THE CONFIRMATION
                           HEARING AND THE EFFECTIVE DATE.

        10.1     Condition to the Confirmation Hearing

       The occurrence of the Confirmation Hearing is subject to the following condition
precedent:

               (a)     The form of Confirmation Order shall be acceptable to TH Holdco in its
reasonable discretion.

        10.2     Conditions Precedent to the Effective Date.

       The occurrence of the Effective Date of the Plan is subject to the following conditions
precedent:

              (a)    the Bankruptcy Court shall have entered the Confirmation Order, the
Confirmation Date shall have occurred and the Confirmation Order shall not be subject to any stay;

                (b)    Debtors or TH Holdco shall have transferred to the Disbursing Agent within
three (3) days from the entry of the Confirmation Order, the operating funds necessary to fund the
Plan Fund pursuant to the terms of this Plan;

              (c)     all actions, documents and agreements necessary to implement and
consummate the Plan, including, without limitation, entry into the documents contained in the Plan
Supplement required to be executed prior to the Confirmation Date, each in form and substance
reasonably satisfactory to the Debtor and Purchaser, and the transactions and other matters
contemplated thereby, shall have been effected or executed;

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                (d)      all governmental and third-party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions contemplated by the
Plan, if any, shall be in full force and effect, and all applicable waiting periods shall have expired
without any action being taken or threatened by any competent authority that would restrain,
prevent or otherwise impose materially adverse conditions on such transactions;

               (e)    the Sale Transaction shall have closed as to both the Hotel Property and the
Residential Property;

                (f)     with respect to the TH Holdco Credit Bid, no long-term lease or other
material arrangement impacting the Property and its uses that is not acceptable to TH Holdco in
its sole and absolute discretion shall be in place; and

                (g)    all documents and agreements necessary to implement the Plan shall have
(i) been tendered for delivery and (ii) been effected or executed by all Entities party thereto, and
all conditions precedent to the effectiveness of such documents and agreements shall have been
satisfied or waived pursuant to the terms of such documents or agreements.

        10.3     Waiver of Conditions Precedent.

       Each of the conditions precedent to the Effective Date in Section 10.2 other than the
condition set forth in section 10.2(a) may be waived in writing by TH Holdco.

        10.4     Effect of Failure of Conditions to Effective Date.

        If the Confirmation Order is vacated due to a failure of a condition to the Effective Date to
occur, (i) no distributions under the Plan shall be made; (ii) the Debtor and all holders of Claims
and Interests shall be restored to the status quo ante as of the day immediately preceding the
Confirmation Date as though the Confirmation Date ever occurred; and (iii) all monies contributed
to the Plan Fund by Debtors shall be returned to TH Holdco within three (3) business days of the
Confirmation Order being vacated.

SECTION 11.                EFFECT OF CONFIRMATION.

        11.1     Vesting of Assets.

        On the Closing Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, and as
set forth in the Purchase Agreement, all property of the Debtors’ Estates shall vest in the Purchaser
free and clear of all Claims, liens, encumbrances, charges and other interests, except as provided
pursuant to this Plan and the Confirmation Order.

        11.2     Release of Liens.

        Except as otherwise provided in the Plan or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Closing Date, all mortgages, deeds of
trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released, settled, and compromised and all rights, titles, and interests of any holder of such
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the

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Estates shall pass to TH Holdco or any other Purchaser pursuant to the Sale Transaction on a free
and clear basis, provided however, that the Lien securing the TH Holdco Secured Class 3 Claim
shall not be deemed released until the TH Holdco Secured Class 3 Claim has been paid in full,
from the proceeds of the Sale Transaction (or the TH Holdco Credit Bid) in accordance with the
terms of this Plan.

        As part of its credit bid, TH Holdco its nominee or designee, may elect to take title of any
of the Properties subject to the existing TH Holdco Mortgage, which TH Holdco Mortgage may
be assigned to any such nominee’s or designee’s lender. In the event TH Holdco or its nominee
or designee elects to take title to any of the Properties subject to the existing TH Holdco Mortgage,
Debtors shall have no further financial obligation to TH Holdco or any assignee of the TH Holdco
Mortgage and shall be released from any and all liability to TH Holdco or any assignee with respect
to such TH Holdco Mortgage upon the Closing. Nothing herein shall impact TH Holdco’s rights
as to any remaining claims against any guarantors or other non-Debtor parties.

        11.3     Subordinated Claims.

        The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual,
legal, and equitable subordination rights relating thereto, whether arising under general principles
of equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to
section 510 of the Bankruptcy Code, the Debtors reserve the right for TH Holdco to re-classify
any Allowed Claim or Interest in accordance with any contractual, legal, or equitable subordination
relating thereto.

        11.4     Binding Effect.

        Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code and subject to
the occurrence of the Effective Date, on and after the Effective Date, the provisions of the Plan
shall bind any holder of a Claim against, or Interest in, the Debtor, and such holder’s respective
successors and assigns, whether or not the Claim or Interest of such holder is Impaired under the
Plan and whether or not such holder has accepted the Plan.

        11.5     Intentionally Omitted.

        11.6     Term of Injunctions or Stays.

       Unless otherwise provided, all injunctions or stays arising under or entered during the
Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence
on the Confirmation Date, shall remain in full force and effect until the later of the Effective Date
and the date indicated in the order providing for such injunction or stay.

        11.7     Plan Injunction.

        Except (i) as otherwise provided under Final Order entered by the Bankruptcy Court or (ii)
with respect to the obligations under the Plan, the entry of the Confirmation Order shall forever
stay, restrain and permanently enjoin with respect to any Claim held against the Debtors as of the

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date of entry of the Confirmation Order (i) the commencement or continuation of any action, the
employment of process, or any act to collect, enforce, attach, recover or offset from the Debtors,
from the Hotel Property or Residential Property, or from property of the Estates that has been or
is to be distributed under the Plan, and (ii) the creation, perfection or enforcement of any lien or
encumbrance against the Hotel Property or Residential Property and any property of the Estates
that has been or is to be, distributed under the Plan. Except as otherwise provided in the
Confirmation Order, the entry of the Confirmation Order shall constitute an injunction against the
commencement or continuation of any action, the employment of process, or any act to collect,
recover or offset from the Debtors, from the Hotel Property or Residential Property, or from
property of the Estates, any claim, any obligation or debt that was held against the Debtors by any
person or entity as of the Confirmation Date except pursuant to the terms of this Plan. The entry
of the Confirmation Order shall permanently enjoin all Creditors, their successors and assigns,
from enforcing or seeking to enforce any such Claims. Nothing herein shall impact TH Holdco’s
right to pursue claims against guarantors or other non-Debtor parties.

        11.8     Limitation of Liability

         To the extent permitted under Section 1125(e) of the Bankruptcy Code, neither the
Exculpated Parties nor any of their respective officers, directors, or employees (acting in such
capacity) nor any professional person employed by any of them, shall have or incur any liability
to any entity for any action taken or omitted to be taken in connection with or related to the
formulation, preparation, dissemination, Confirmation or consummation of the Plan, the
Disclosure Statement, the Plan Supplement or the any contract, instrument, release or other
agreement or document created or entered into, or any other action taken or omitted to be taken in
connection with the Plan, provided that each Exculpated Party shall be entitled to rely upon the
advice of counsel concerning his, her, or its duties pursuant to, or in connection with, the Plan or
any other related document, instrument, or agreement, except in the case of fraud, gross
negligence, willful misconduct, malpractice, breach of fiduciary duty, criminal conduct,
unauthorized use of confidential information that causes damages, or ultra vires acts. Nothing in
this Section 11.8 shall limit the liability of the Debtors’ professionals pursuant to Rule 1.8 (h)(1)
of the New York State Rules of Professional Conduct. Nothing in the Plan or the confirmation
order shall effect a release of any claim by the United States Government or any of its agencies or
any state and local authority whatsoever, including, without limitation, any claim arising under the
Internal Revenue Code, the environmental laws or any criminal laws of the United States or any
state and local authority against the Debtors or any of its respective members, shareholders,
officers, directors, employees, attorneys, advisors, agents, representatives and assigns, nor shall
anything in the Plan enjoin the United States or any state or local authority from bringing any
claim, suit, action or other proceedings against the Debtors or any of its respective members,
officers, directors, employees, attorneys, advisors, agents, representatives and assigns for any
liability whatever, including without limitation, any claim, suit or action arising under the Internal
Revenue Code, the environmental laws or any criminal laws of the United States or any state or
local authority, nor shall anything in this Plan exculpate Debtors or any of its respective members,
officers, directors, employees, attorneys, advisors, agents, representatives and assigns from any
liability to the United States Government or any of its agencies or any state and local authority
whatsoever, including liabilities arising under the Internal Revenue Code, the environmental laws
or any criminal laws of the United States or any state and local authority.


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        11.9     Intentionally Omitted

        11.10 Solicitation of the Plan.

         As of and subject to the occurrence of the Confirmation Date: (a) TH Holdco shall be
deemed to have solicited acceptances of the Plan in good faith and in compliance with the
applicable provisions of the Bankruptcy Code, including without limitation, sections 1125(a) and
(e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or regulation governing
the adequacy of disclosure in connection with such solicitation.

        11.11 Plan Supplement.

         The Plan Supplement, if any, shall be filed with the Clerk of the Bankruptcy Court by no
later than fifteen (15) days prior to the Confirmation Hearing and served upon all parties in interest.
Upon its filing with the Bankruptcy Court, the Plan Supplement may be inspected in the office of
the Clerk of the Bankruptcy Court during normal court hours.

SECTION 12.                RETENTION OF JURISDICTION.

       On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Case for, among other things, the
following purposes:

               (a)    to hear and determine motions and/or applications for the assumption or
rejection of Executory Contracts or Unexpired Leases and the allowance, classification, priority,
compromise, estimation or payment of Claims resulting there from;

               (b)       to determine any motion, adversary proceeding, application, contested
matter, or other litigated matter pending on or commenced after the Confirmation Date;

               (c)         to insure that distributions to holders of Allowed Claims are accomplished
as provided herein;

               (d)   to consider Claims or the allowance, classification, priority, compromise,
estimation or payment of any Claim;

              (e)    to enter, implement or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

                 (f)       to adjudicate any dispute related to the Sale Transaction;

               (g)     to issue injunctions, enter and implement other orders, and take such other
actions as may be necessary or appropriate to restrain interference by any Person with the
Consummation, implementation or enforcement of the Plan, including the Confirmation Order, or
any other order of the Bankruptcy Court;

             (h)    to hear and determine any application to modify the Plan in accordance with
section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any


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inconsistency in the Plan, or any order of the Bankruptcy Court, including the Confirmation Order,
in such a manner as may be necessary to carry out the purposes and effects thereof;

              (i)     to hear and determine all applications under sections 330, 331, and 503(b)
of the Bankruptcy Code for awards of compensation for services rendered and reimbursement of
expenses incurred before the Confirmation Date;

              (j)     to hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Purchase Agreement, or the Confirmation Order
or any agreement, instrument, or other document governing or relating to any of the foregoing;

                (k)    to take any action and issue such orders as may be necessary to construe,
interpret, enforce, implement, execute, and consummate the Plan or to maintain the integrity of the
Plan following Consummation;

               (l)    to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

              (m)     to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including any requests for
expedited determinations of the Debtors’ tax liability under section 505(b) of the Bankruptcy
Code);

              (n)    to adjudicate, decide or resolve any and all matters related to section 1141
of the Bankruptcy Code;

               (o)         to adjudicate any and all disputes arising from or relating to distributions
under the Plan;

              (p)    to hear and determine any other matters related hereto and not inconsistent
with the Bankruptcy Code and title 28 of the United States Code;

                 (q)       to enter a final decree closing any of the Chapter 11 Cases;

                 (r)       to enforce all orders previously entered by the Bankruptcy Court;

              (s)     to recover all assets of the Debtors and property of the Debtors’ Estates,
wherever located; and

               (t)    to hear and determine any rights, Claims or Causes of Action held by or
accruing to the Debtor pursuant to the Bankruptcy Code or pursuant to any federal statute or legal
theory.




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SECTION 13.                MISCELLANEOUS PROVISIONS.

        13.1     Payment of Statutory Fees.

        On the Effective Date and thereafter as may be required, the Disbursing Agent shall pay
all fees incurred pursuant to section 1930 of title 28 of the United States Code, together with
interest, if any, pursuant to section 3717 of title 31 of the United States Code for the Chapter 11
Cases; provided, however, that after the Effective Date such fees shall only be payable with respect
to the applicable Chapter 11 Case until such time as a final decree is entered closing the applicable
Chapter 11 Case, a Final Order converting such case to a case under chapter 7 of the Bankruptcy
Code is entered or a Final Order dismissing the applicable Chapter 11 Case is entered.

        13.2     Substantial Consummation.

       On the Closing Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

        13.3     Amendments.

                (a)     Plan Modifications. The Plan may be amended, modified or supplemented
by TH Holdco in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
permitted by law without additional disclosure pursuant to section 1125 of the Bankruptcy Code.
In addition, after the Confirmation Date, TH Holdco may institute proceedings in the Bankruptcy
Court to remedy any defect or omission or reconcile any inconsistencies in the Plan or the
Confirmation Order, with respect to such matters as may be necessary to carry out the purposes
and effects of the Plan. TH Holdco reserves the right to modify this Plan as to the treatment of
any Class to provide more favorable treatment of such Class without resolicitation of votes on this
Plan.

               (b)     Other Amendments. Before the Effective Date, TH Holdco may make
appropriate technical adjustments and modifications to the Plan and the documents contained in
the Plan Supplement without further order or approval of the Bankruptcy Court.

        13.4     Revocation or Withdrawal of the Plan.

        TH Holdco reserves the right to revoke or withdraw the Plan, prior to the Confirmation
Date. If TH Holdco revokes or withdraws the Plan, or if Confirmation or Consummation does not
occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in the Plan (including the fixing or limiting to an amount certain of any Claim or Interest
or Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired
Leases effected by the Plan, and any document or executed pursuant to the Plan, shall be deemed
null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any
Claims or Interests; (b) prejudice in any manner the rights of the Debtors, the Debtors’ Estates, or
any other Entity; or (c) constitute an admission, acknowledgement, offer, or undertaking of any
sort by the Debtors, the Debtors’ Estates, TH Holdco or any other Entity.




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        13.5     Severability of Plan Provisions Upon Confirmation.

        If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request
of TH Holdco, shall have the power to alter and interpret such term or provision to make it valid
or enforceable to the maximum extent practicable, consistent with the original purpose of the term
or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration or interpretation,
the remainder of the terms and provisions of the Plan will remain in full force and effect and will
in no way be affected, impaired or invalidated by such holding, alteration or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,
is (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted
or modified without the consent of TH Holdco; and (3) nonseverable and mutually dependent.

        13.6     Governing Law.

        Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement provides otherwise, the rights, duties
and obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to the principles of
conflict of laws thereof.

        13.7     Time.

        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall
apply.

        13.8     Additional Documents

        On or before the Effective Date, TH Holdco may file with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. TH Holdco, the Debtors and all holders of Claims
or Interests receiving distributions pursuant to the Plan and all other parties in interest shall,
prepare, execute, and deliver any agreements or documents and take any other actions as may be
necessary or advisable to effectuate the provisions and intent of the Plan.

        13.9     Immediate Binding Effect.

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be immediately
effective and enforceable and deemed binding upon and inure to the benefit of the Debtors, the
Purchaser, the holders of Claims and Interests, the Exculpated Parties, and each of their respective
successors and assigns.




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        13.10 Successor and Assigns.

       The rights, benefits and obligations of any Person named or referred to in the Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
permitted assign, if any, of each Entity.

        13.11 Entire Agreement.

      On the Effective Date, the Plan, the Plan Supplement, the Purchase Agreement, and the
Confirmation Order shall supersede all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings and representations on such subjects, all of which have
become merged and integrated into the Plan.

        13.12 Notices.

        All notices, requests and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be
deemed to have been duly given or made when actually delivered or, in the case of notice by e-
mail, addressed as follows:

                 (i)       IF TO THE DEBTORS:


                           GC Realty Advisors, LLC
                           3284 N 29th Court
                           Hollywood, Florida 33020
                           Attn: David Goldwasser
                           dgoldwasser@fiacp.com

                           - and -

                           Leech Tishman Robinson Brog
                           875 Third Avenue, 9th Floor
                           New York, New York 10022
                           Telephone: (212) 603-6300
                           E-mail: fbr@leechtishman.com
                           Attention: Fred B. Ringel, Esq.

                 (ii)      IF TO TH HOLDCO:

                           TH Holdco, LLC
                           c/o Dentons US LLP
                           1221 Avenue of the Americas
                           New York, New York 10020
                           Attn.: Lauren Macksoud and Christopher Milenkevich
                           E-Mail: lauren.macksoud@dentons.com
                                   christopher.milenkevich@dentons.com


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After the Effective Date, the Debtors or TH Holdco shall have the authority to send a notice to
Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, that they must
file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective
Date, the Debtors or TH Holdco are authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.

                                 [signatures on following page]




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Dated:           May 26, 2022
                 New York, New York

                                           TH Holdco, LLC


                                           By: /s/ Franco Famularo
                                                   Authorized Signatory




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